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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   STRAIGHT PATH IP GROUP, INC.,                       No. C 16-03463 WHA
                                                                         11                                                       No. C 16-03582 WHA
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12    v.
                                                                         13   CISCO SYSTEMS, INC.,
                                                                         14                 Defendant.
                                                                         15                                                       ORDER RE SEALING OF
                                                                         16                                                       ORDER GRANTING MOTIONS
                                                                              STRAIGHT PATH IP GROUP, INC.,                       FOR SUMMARY JUDGMENT
                                                                         17                                                       OF NONINFRINGEMENT AND
                                                                                            Plaintiff,                            ORDER TO SHOW CAUSE
                                                                         18    v.
                                                                         19   APPLE INC.,
                                                                         20                 Defendant.
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                                                                          1          The order granting defendants’ motions for summary judgment of noninfringement and
                                                                          2   order to show cause, filed under seal today, shall remain under seal until TOMORROW AT
                                                                          3   11:00 P.M., after which it will be filed on the public docket in its entirety unless one or more
                                                                          4   parties propose redactions narrowly tailored to seek sealing only of truly sealable material.
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                                                                          6          IT IS SO ORDERED.
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                                                                          8   Dated: November 13, 2017.
                                                                                                                                        WILLIAM ALSUP
                                                                          9                                                             UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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